8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 1 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 2 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 3 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 4 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 5 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 6 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 7 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 8 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 9 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 10 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 11 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 12 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 13 of 14
8:19-cv-01402-RBH-JDA   Date Filed 06/21/19   Entry Number 14   Page 14 of 14
